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Attorney for Defendant, Rolando Hernandez-Zamora

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
vs.                                    )
                                       )
ROLANDO HERNANDEZ-ZAMORA,              )
                                       )
                     Defendant.        )
_______________________________________)                  Case No. 3:21-cr-00062 JMK-MMS

                          MOTION TO WITHDRAW AS COUNSEL

        Brian Heady, CJA appointed counsel for Mr. Hernandez Zamora, hereby submits

Motion to Withdraw as Counsel. This motion is supported by an affidavit of counsel filed

under seal.

                Respectfully submitted this 19th day January 2023 at Anchorage,

Alaska.


                                          /s/Brian D. Heady
                                          Attorney for Defendant Rolando Hernandez-Zamora
                                          Alaska Bar No. 0709051

USA v. Hernandez Zamora; Case No. 3:21-cr-00062 JMK-MMS
Motion to Withdraw as Counsel
Page 1 of 2



Case 3:21-cr-00062-JMK-MMS Document 107 Filed 01/19/23 Page 1 of 2
CERTIFICATE OF SERVICE
I hereby certify that on January 19, 2023, a copy of the foregoing was served electronically
on

Jennifer Ivers, AUSA

s/ Brian D. Heady




USA v. Hernandez Zamora; Case No. 3:21-cr-00062 JMK-MMS
Motion to Withdraw as Counsel
Page 2 of 2



Case 3:21-cr-00062-JMK-MMS Document 107 Filed 01/19/23 Page 2 of 2
